DETROIPPOLICE DEPARTMENT CRIME PagelD.303° Filed 04/07/15" Page 1 ors

REPORT

Case No. 1409040312
Report No. 1409040312.1
Report Date: 9/4/2014

DETROIT POLICE DEPARTMENT

Mrned awan OD Yards "
Large Capper pipes

1

Page 7 of 5

Subject:

Case Report Status
County
CltyfTownship

Occurred On

(and Betvesn)
location

C8z

Census/Geo Code
Grid

Call Source

Vehicle Activity
Vehicle Travaling
Cross Streat

Means

Other Means
Mative

Other Motivas

Report Narrative

03-GAU- 3421- SELLING STOLEN PROPERTY/ RCSP

A- APPROVED Date Entered — 9/4/2014 7:28:39 PM Reporting Officer
82 - WAYNE Entered By 233904 - SPLITT, LAURA 233904 - SPLITT, LAURA
99 - DETROIT Date Verified 9/45/2014 5:03:02 PM
Verified By 234398 - MCKAY, REBECCA Assisted By
8/29/2014 1:31:00 PM Data Approved 9/45/2014 5:03:18 PM 231031 - BELL, TOMMY
234398 - MCKAY, REBECCA
Approvad By 234398 - MCKAY, REBECCA
6122 W FORT Connecting Gases Assist Agency
DETROIT, Ml 48209 Disposition ACTIVE
5237 Tactical Acllons
NET - 0307 Clearance Reason

Date of Clearanca
Reporting Agency
Division
Notified

DETROIT POLICE DEPARTMENT
2nd/Southwest District

DET LAURA SPLITT, #3636, GAU

ON FRIDAY, 08/29/14, SGT MCKAY AND i MADE THE LAFAYETTE RECYCLING AND TALKED TO WITNESS 1, CHRISTINA
BUSSELL (EMPLOYEE OF LAFAYETTE RECYCLING), WHO ADVISED BOTH SUSPECTS DROVE UP IN A TAN FORD
MINIVAN, MI(CHW3871, FULL OF COPPER PIPES THAT APPEARED NEW AND 2 COMPRESSORS. $1, JERMEL, STATED TO
MS BUSSEL THAT HE GOT THE ITEMS FROM UNITED REFRIGERATION AND PROVIDED A TORN PIECE OF YELLOW
LEGAL NOTEPAD PAPER WITH THE NAME OF GLEN OJADA OF UNITED REFRIGERATION, 12811 CAPITAL WITH PHONE
#248-682-9100, MS BUSSELL CALLED AND SPOKE WITH A MAN CLAIMING TO BE GLEN ORJADA WHO STATED HE DOES
NOT KNOW JERMEL TAYLOR AND DID NOT GIVE ANYONE PERMISSION TO TAKE THE ITEMS THAT HE HAD HIDDEN IN
THE BOTTOM OF A DUMPSTER ON HIS PROPERTY. JERMEL AND HIS FATHER ($2) LEFT THE LOCATION WITH THE
ITEMS AFTER BEING TURNED AWAY BY MS BUSSELL, WHO THEN NOTIFIED SGT MCKAY.

SGT MCKAY AND | CHECKED SIMS METAL AT 3100 LONYO AND WAS ADVISED BY WITNESS 2, GREG ASLINGER THAT
JERMEL TAYLOR WAS AT THAT LOCATION EARLIER ATTEMPTING TO SELL COPPER PIPES BUT WAS TURNED AWAY.
SGT MCKAY AN | THEN MADE SOUTHWEST METALS AT 8122 W FORT AND WAS ADVISED THAT JERMEL TAYLOR HAD
EARLIER THAT DAY SOLD COPPER PIPES AND (2) COMPRESSORS TOTALING $114.75 THAT WAS PLACED ON 4 (3) DAY
HOLD AS REQUIRED BY LAW. THE COMPANY PROVIDED A COPY OF ALIGENSE FOR JERMEL TAYLOR AND A COPY OF
THE CHECK THAT THEY WERE HOLDING FOR JERMEL TAYLOR FOR $114.75, THE ITEMS WERE PLACED ON HOLD BY
SGT MCKAY AND THE VICTIM MR ORJADA WAS NOTIFIED OF THE RECOVERED PROPERTY.

ON WEDNESDAY, 09/03/44, | MEET WITH THE VICTIM, MR ORJADA AT HIS BUSINESS IN OAK PARK ALONG WITH P.O.
TOMMY BELL. | TOOK A STATEMENT FROM MR ORJADA IN WHICH HE DENIES GIVING ANYONE PERMISSION TO ENTER
HIS PROPERTY AND REMOVE THE COPPER PIPING AND COMPRESSORS THAT HE HAD HIDDEN IN THE BOTTOM OF THE
DUMPSTER FOR SAFETY, (BUSINESS HAD RECENT FLOODING AND ITEMS WERE REMOVED FOR THE INSURANCE
CLAIM). PO BELL TOOK A STATEMENT FROM AN EMPLOYEE THAT HAD WITNESSED A GOLD, OLDER MODEL MINIVAN
WITH 2 BLACK MALES INSIDE PARK IN FRONT OF THE BUSINESS AS HE WAS LEAVING WORK FOR THE EVENING. |
ALSO ADVISED MR ORJADA THAT A POLICE REPORT SHOULD BE MADE WITH THE LOCAL OAK PARK POLICE
DEPARTMENT IN REGARDS TO THE THEFT.

Offense Detail: 2801 - SALE OF STOLEN PROPERTY

Offense Description
IBR Code

IBR Group

Crime Against
Offense File Class
PACG

Local Code

Using

Criminal Activity
Weapons

NetRMS_MICR ctf ver

2801 - SALE OF STOLEN PROPERTY

280 - STOLEN PROPERTY Locailon = 88 - OTHER

OFFENSES

A Offense Completed? YES No. Prem. Entered
PR : Hate/Blas 0 - NONE (NO BIAS) Entry Method
28000 - STOLEN PROPERTY Domestic Viclence NO Type Security

Tools Used

D - DISTRIBUTING/SELLING

Printed For:
Printed: March 23, 2015 - 2:59 PM

DETROFFP POLICE DEPARTMENT CRITE PagelD.364 Filed 04/07/15 Page 2 of 5
REPORT
Case No. 1409040312

Report No, 1409040312.1
Report Date: 9/4/2014

DETROIT POLICE DEPARTMENT

2

Page 2 of 5.

Suspect $1: TAYLOR, JERMEL ORLANDO

Suspect Number =§4 BOB 40/20/1976 Placa of Birth
Nae TAYLOR, JERMEL ORLANDO Age 38 SSN XXX-XX-XXXX
AKA Sex MM» MALE DLN 7460402666810
Alert(a) Race B-~BLACK DLN Stato Ml - MICHIGAN
Ethnicly Uf - UNKNOWN BLN Country
Address $044 E Morrow Cir HL gt ge Occupation/Grade
G8Z DETROIT, MI 48204 Wt 200 Employer/Schoo!
Eye Colr BRO. BROWN Employer Address
Home Phone Hair Coler = BLK - BLACK Employer CSZ
Work Phona Halr Styio A - AFRO Res, Gounly
Emall Address Hair Length Res. Country
Facial Hair Resident Status R- RESIDENT OF THE
COMMUNITY, CITY,
OR TOWN WHERE
THE OFFENSE
OCCURRED
Complexion
Bulld
Taath
Scars(Merks/Tattoos = ARGE MOLE ON RIGHT CHEEK NEXT TO NOSE
Suspect MO
Other MO
Attire
Habitual Offender
Status
Suspect Notes
Suspect S2: TAYLOR, MELVIN ONEAL
Suspect Number $2 DOB 2/23/1938 Place of Birth
Name TAYLOR, MELVIN ONEAL Age 76 SSN
AKA Sex M-MALE DIN 460599662141
Alert(s) Race B&B. BLACK DLN State = MII. - MICHIGAN
Ethnicity UJ - UNKNOWN DLN Country
Address 8044 E Morrow Cir HE = BT qh Occupation/Grada
cSZ_ BETROIT, MI 48204 Wit Employer/Schoal
EyeColor BRO - BROWN Employer Addross
Home Phone Hair Calor Employer C&2
Work Phone Rair Style Ras. County
Email Address Hair Length Res, Country
Facial Hair Resident Status RR ~ RESIDENT OF THE
COMMUNITY, CITY,
OR TOWN WHERE
THE OFFENSE
OCCURRED
Compiexion
Build
Teeth

Scars/Marks/Tattoos
Suspect MO

Other MO

Attire

Habitual Offender
Status

Suspect Notes

NetRMS_MIGR. rif vat

REGISTERED OWNER OF A GOLD OR TAW/ 98/ FORD/ WINDSTAR MINIVAN/ Mif CHW3871/

2FMZA5140WBC71162

Printed: Marah 23, 2015 - 2:69 PM

REPORT

Case No. 1409040312
Report No. 1409040312.1
Report Date: 9/4/2014

DETROIT POLICE DEPARTNIENT CRIME oe 5 Filed varo7rzs Page 3 of5

DETROIT POLICE DEPARTMENT

3

Page 3 of 5

Victim V4: [E] UNITED REFRIGERATION

Victim Codey Victim Of 2801 - SALE OF STOLEN PROPERTY
Victim Type = B - BUSINESS
Name [E] UNITED REFRIGERATION DOB Place of Birth
AKA Age 85N
Alert(s) Sex DLN
Race DLN State
Address = 23922 Capital Ethnicity DLN Country
cS2 OAK PARK, MI 48237 Ht Occupation/Grade
Wi, Employer/School
Home Phone Eye Color Employer Addreas
Work Phone 248 388-1054 Halr Calor Employer CSZ
Email Address Faclal Hale Res. County
Complaxion Res. Country
Altire Resident Status
Injury Tastify
Clrcumstances
Law Enforcemsent Type Juatifiabte Homicide
Officer Killed or Assignment Circumstances
Assaulted
Information Activity
Other ORI
Offender Relationship
Victim Nates
Witness W1: BUSSELL, CHRISTINA
Wilness Coda WWW DOB Place of Birth
Name BUSSELL, CHRISTINA Age 35 SSN
AKA Sex F.PFEMALE DLN
Aleri(s) Race WJ - UNKNOWN DLN State
Ethnicly U- UNKNOWN DLN Country
Address 7700 Dix St Hi. . Occupation/Grade
C8£ DETROIT, MI 48209 Wt EmployerSehool LAFAYETTE
RECYCLING
Eyo Color Employer Address 7700 Dix St
Home Phone 343 §43-4342 Hair Color EmployerCSZ 48209
Work Phone Facial Hait Res, County
Email Address Complexion Res. Country
Resident Status Uj - UNKNOWN
Attire Tastify
Witness Netes
Witness W2: ASLINGER, GREG
Witness Gade YYZ DOB Place of Bidh
Nama ASLINGER, GREG Age 60 , SEN
AKA Sex W-MALE DLN
Alart(s} Race W-WHITE DLN State
Ethnicity DLN Country
Address HL Qccupation/Grade —
CSZ Wt. EmployerSchool §=§S|MS METAL
Eye Color Employer Address 9492 WFt
Home Phone Hair Color Employer CSZ 492908
Work Phons Facial Hair Ras, Gounty
Email Address Complexion Ras, Country
Resident Status
Attire Testify

NetRMS_MICR. rif vet

Printed: March 23, 2046 - 2:59 PM

DETROIT POLICE DEPARTMENT PRIME ers Fited 04/07/15 Page 4 of 5
REPORT
Case No. 1409040312

Report No. 1409040312.1
Report Date: 9/4/2014

DETROIT POLICE DEPARTMENT

4

Page 4 of §
Witness Notes
Other Entity: O01 -- ORJADA, GLENN
Entity Coda
Enlly Type PRO - PERSON REPORTING OFFENSE
Name ORJADA, GLENN DOB 12/30/1960 Place of Birth
AKA Age 53 SSN
Alert(s) Sex M.-MALE DLN
Reco W.WHITE OLN State
Address =. 128411 Capital Ethnicity LU. UNKNOWN DLN Country
C38zZ_ OAK PARK, MI 48237 Ht. Occupation/Grade = MANAGER
Wt Employer/Sechesl UNITED
REFRIGERATION
Home Phene 248 388-1054 Eye Color Employer Address 2841 Capital
Work Phone 248 582-9100 Hair Color EmpleyerCS2 OAK PARK, Ml 48237
Email Addrass Facial Halr Res. County
Complexion Res. Country
Altire Resident Status =f ~ UNKNOWN
Entity Notas

Property Description Item 1: 9911 - METALS (BRASS, COPPER, ETC) - COPPER PIPING

|tem No,

Properly Category
Property Class
IBR Type

UCR Type

Status

Count

Value
Manufacturer
Model

Serlat No,
License No.
Color
Description
Vehicle Year
Body Style
State
License Year

Recovered Date/Time

Owner

Disposition

Evidence Tag

Lock Seals

Evidence Recovered Date/Time
Evidence Recovered By
Evidence Recovered From
Evidence Location

Alari(s)

Drug Type
Drug Quantity

Drug Measure

Property Notes

1

9911 - METALS (BRASS, COPPER, ETC)

88

77 - OTHER

K - MISCELLANEOUS

R - RECOVERED (ONLY IN IBR OFFENSES 250 &
280}

1
114.75

COPPER PIPING

8/29/2014 2:30:00 PM
¥1 - [E] UNITED REFRIGERATION
PLACED ON HOLD FOR VICTIM

8/29/2014

Property Description Item 2: 3501 - AUTOMOBILE (NOT STOLEN OR RECOVERED) - USED TO HAUL STOLEN METAL

Kem Na,

NetRMS_MICR,rif v2e

2

Printed: March 23, 2045 - 2:59 PM

DETROIT POLICE DEPARTMENT ERIN oe 8e7_ Fed varo7r15 Pages oF
REPORT DETROIT POLICE DEPARTMENT

Case No. 1409040312
Report No. 1409040312,1
Report Date: 9/4/2014

Page 6 of §

Property Category = 3501 - AUTOMOBILE (NOT STOLEN OR
RECOVERED)
Property Class = 93.
aR Typa = 03 - AUTOMOBILES
UCRTyps VY - OTHER VEHICLE (NOT STOLEN OR
RECOVERED)
Staus =| - INFORMATION ONLY

Count 4
Value
Manufacturer FORD
Model WINDSTAR
SerialNo. =. FMZA5140WBC71162
License No. §=6CHW3874
Soler TAN - TAN
Description USED TO HAUL STOLEN METAL
Vehicle Year {998
Body Style = YN - VAN OR PANEL
State = MI - MICHIGAN

Licanse Year

Recovered Date/Time

Owner $2» TAYLOR, MELVIN ONEAL
Disposition
Evidance Tag
Lock Seals
Evidence Recovered Date/Tima
Evidanca Recovered By
Evidence Recovered From
Evidence Location
Alart(s}

Drug Type
Drug Quantity

Drug Measure

Properly Notes

NetRMS_MICR rf v2f Printed: March 23, 2016 - 2:58 PM

